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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

 IN RE: THE MATTER OF:                          )
                                                )
 Bruce Edwin Hopson & Linda Kathryn             )   Case No. 09-45523
 Hopson                                         )   Response Due: January 3, 2011
                                                )   Hearing Date: January 10, 2011
                         Debtors.               )   Hearing Time: 10:00 a.m.
                                                )   Location: United States
                                                )   Bankruptcy Court –
                                                )   Eastern District of Missouri -
                                                )   Thomas F. Eagleton Courthouse
                                                )   111 South Tenth Street, Floor 7
                                                )   North Courtroom
                                                )   St. Louis, MO 63102

            NOTICE AND MOTION TO APPROVE SETTLEMENT AGREEMENT

                 WARNING: Any response or objection must be filed with
                 the Court by January 3, 2011. (See L.B.R. 9013-1 B. and
                 9013-2, or other Rule as applicable). A copy must be
                 promptly served upon the undersigned. Failure to file a
                 timely response may result in the Court granting the relief
                 requested prior to the hearing date.

           For his Motion, Trustee states:

           1.     The Debtors did file their Voluntary Petition in Bankruptcy on June 11,

 2009.

           2.     Tom K. O’Loughlin II is the duly authorized and acting Trustee in this

 estate.

           3.     The Debtors had a claim for personal injury against Sam’s East, Inc. as a

 result of an alleged slip and fall incident which occurred inside a Sam’s Club Store

 located in St. Louis County, Missouri. A lawsuit was filed on behalf of the Debtors in
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 Cause No. 4:10-CV-28 DDN in the United States District Court for the Eastern District

 of Missouri.

         4.     This Court approved the employment of Walter L. Floyd as the attorney for

 the Trustee to pursue the claim against Sam’s East, Inc. by its Order dated September 16,

 2009.

         5.     A settlement has been reached between the parties in this lawsuit subject to

 approval by this Court. Under the provisions of that Settlement Agreement, the terms of

 the settlement are to remain confidential.

         6.     The Trustee has been advised to the terms of the Settlement Agreement and

 has reviewed the proposed Settlement Agreement. After reviewing the same, the Trustee

 believes this proposed settlement is in the best interest of the bankruptcy estate.

         7.     This Settlement Agreement is available for review by the parties in interest

 in this estate but it is confidential and is to remain confidential. If any party desires to see

 the Agreement, the undersigned is required to file a Motion to Place the Document under

 Seal and require that a Confidentiality Agreement be signed.

         8.     The Trustee believes that this Settlement Agreement is in the best interest

 of the estate and should be approved by the Court.

         WHEREFORE, Tom K. O’Loughlin II, Trustee, prays for an Order of this Court

 approving the proposed confidential settlement with respect to this estate’s interest in the

 lawsuit described herein; to authorize the Trustee to execute and sign such settlement
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 documents as may be necessary to complete this settlement; and for such other and

 further relief as may be just and proper.

                                    Respectfully submitted,

                                    O’LOUGHLIN, O’LOUGHLIN & KOETTING, L.C.
                                    1736 North Kingshighway
                                    Cape Girardeau, MO 63701
                                    Telephone: (573) 334-9104
                                    Fax: (573) 334-5256
                                    pato@oloughlinlawfirm.com


                                    By:/s/ J. Patrick O’Loughlin
                                       J. Patrick O’Loughlin – Fed. Bar #27487MO
                                      State Bar No. 27487

                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing Notice and
 Motion to Approve Settlement Agreement was placed in the United States Mails, First
 Class, postage prepaid, this 3rd day of December, 2010, and mailed to David N. Gunn,
 The Bankruptcy Company, 1600 S. Brentwood, Ste. 725, Brentwood, MO 63144, Robert
 Lawson, The Bankruptcy Company, 1600 S. Brentwood Blvd., Ste. 725, Brentwood, MO
 63144, Walter L. Floyd, The Floyd Law Firm, P.C., 8151 Clayton Rd., Ste. 202, St.
 Louis, MO 63117, the Office of the United States Trustee, 111 S. 10th Street, Ste. 6353,
 St. Louis, MO 63102 and to those persons listed on the attached matrix.

                                    /s/ J. Patrick O’Loughlin
